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IN THE UNITED STATES DISTRICT COURT may "` D-c.
FOR THE WESU\T'I"EESR|Il\\IER]§qISDTI}:.]IICS'I:‘[OOI`]F TENNESSEE osJU~ 30 H 22 !‘2
HMM'ASUS BEMSD- GOM.D
UNITED STATES OF AMERICA, w/DOFW:“MEWT¥RSMHT

VS. NO. 05-20177-Ma

TYREE TILLMAN,

Defendant.

 

ORDER EXTENDING MOTIONS DEADLINE

 

Before the court is defendant Tyree Tillman's June 23, 2005,
motion for additional time Within Which to file pretrial motions
in this matter. For good cause shown, the motion is granted.

The defendant shall have additional time to and including July

22, 2005, within which to file pretrial motions in this matter.

IT IS SO ORDERED this 30V£`day of June, ?5.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
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Honorable Samuel Mays
US DISTRICT COURT

